
662 S.E.2d 553 (2008)
STATE
v.
Mario Lynn PHILLIPS.
No. 48A08.
Supreme Court of North Carolina.
April 16, 2008.
Barbara Blackman, Assistant Appellate Defender, for Phillips.
Maureen Krueger, Garland N. Yates, District Attorneys, for State of NC.
The following order has been entered on the motion filed on the 14th day of April 2008 by Defendant for Extension of Time for Court Reporter to Prepare the Transcripts:
"Motion Allowed. Court reporter shall have up to and including the 20th day of *554 May 2008 to prepare and deliver transcript to counsel. By order of the Court in conference this the 16th day of April 2008."
